      Case 6:24-cv-00202-DNH-TWD Document 22-1 Filed 10/07/24 Page 1 of 2




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
   SARAH MATTHEWS and JEFFREY MATTHEWS, :
   Individually, and as Parents and Natural Guardians of :
   M.M. 1, an infant under the age of 18 years and M.M. :                 Case No. 6:24-CV-0202
   2, an infant under the age of 18 years,                            :   (DNH/TWD)
                                                                      :
                              Plaintiffs,                             :
                                                                      :
   -against-                                                          :
                                                                      :
   BRUNSWICK CORPORATION d/b/a MERCURY                                :
   MARINE, by and through its Agents, Officers, and/or :
   Employees,                                                         :
                                                                      :
                              Defendant.                              :
   ------------------------------------------------------------------ X
   BRUNSWICK CORPORATION d/b/a MERCURY                                :
   MARINE, by and through its Agents, Officers, and/or :
   Employees,                                                         :
                                                                      :
                              Third-Party Plaintiff,                  :
                                                                      :
   -against-                                                          :
                                                                      :
   DAVID YOULEN,                                                      :
                                                                      :
                              Third-Party Defendant.                  :
   ------------------------------------------------------------------ X


                       MERCURY MARINE’S THIRD-PARTY SUMMONS

TO:     David Youlen
        154 Gadwell Lane
        Manlius, NY 13104

        A lawsuit has been filed against defendant Brunswick Corporation d/k/a Mercury Marine,
by and through its Agents, Officers and/or Employees, which as third-party plaintiff is making
this claim against you to pay part or all of what the defendant may owe to the plaintiff Sarah
Matthews and Jeffrey Matthews, Individually, and as Parents and Natural Guardians of M.M. 1,
an infant under the age of 18 years and M.M. 2, an infant under the age of 18 years.

       Within 21 days after the service of this summons on you (not counting the day you
received it) – or 60 days if you are the United States or a United States Agency, or an officer or

                                                        1
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employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) – you must serve on
the third-party plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or
defendant’s attorney, whose name and address are:

       Christina M. Paul (admitted pro hac vice)
       K&L Gates LLP
       Southeast Financial Center
       200 South Biscayne Boulevard
       Suite 3900
       Miami, Florida 33131-2399
       Tel.: 305-539-3300

It must also be served on the plaintiff or plaintiff’s attorney, whose name and address are:

       Timothy J. DeMore
       DeMore Law Firm
       125 East Jefferson Street
       Suite 900
       Syracuse, New York 13202
       Tel.: 315-413-7002

       If you fail to respond, judgment by default will be entered against you for the relief
demanded in the third-party complaint. You also must file the answer or motion with the court
and serve it on any other parties.

       A copy of the plaintiff’s complaint is also attached. You may – but are not required to –
respond to it.

Dated: October ___, 2024


                                                     CLERK OF COURT



                                                         Signature of Clerk or Deputy Clerk




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